Case 1:17-cr-00582-JMS-WRP Document 176 Filed 03/28/18 Page 1 of 1               PageID #:
                                  1328



                                    MINUTES

  CASE NUMBER:            1:17-cr-00582 JMS
  CASE NAME:              United States of America v. Katherine P. Kealoha, et al.


       JUDGE:       J. Michael Seabright         DATE:            03/28/2018


 COURT ACTION: EO: On March 28, 2018, the Government filed a Motion seeking
 court authorization to file an omnibus Response to five separate Motions to Sever that
 exceeds the page limits set forth in Local Rule 7.5. ECF No. 175. For the reasons set
 forth in the Motion and finding good cause, the court GRANTS the Motion.




 Submitted by: Shelli Mizukami, Courtroom Manager
